         Case 20-33214 Document 23 Filed in TXSB on 12/17/20 Page 1 of 7




                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                   §
                                         §
FRANCOIS STANISLAS BELLON                §     CASE NO. 20-33214 (MI)
                                         §     (Chapter 7)
      Debtor.                            §

                TRUSTEE’S EXPEDITED MOTION FOR ORDER
            DIRECTING THE DEBTOR TO APPEAR AND SHOW CAUSE
                       WHY HE SHOULD NOT BE HELD
               IN CIVIL CONTEMPT FOR FAILURE TO COMPLY
               WITH THE COURT’S 11/9/2020 ORDER (DOC. NO. 13)

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
TWENTY-ONE (21) DAYS OF THE DATE THIS WAS SERVED UPON YOU. YOUR
RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF
YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT RECEIVED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER
EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE
HEARING.

A HEARING ON THIS MOTION HAS BEEN SELF-CALENDARED AND WILL BE
HEARD ON FEBRUARY 3, AT 9:00 A.M. VIA TELEPHONE AND VIDEO
CONFERENCE. THE INSTRUCTIONS ARE PROVIDED BELOW.

Audio communication will be by use of the Court’s dial-in facility. You may access the
facility at (832) 917-1510. You will be responsible for your own long-distance charges.
Once connected, you will be asked to enter the conference room number. Judge Isgur’s
conference room number is 954554.

You may view video via GoToMeeting. To use GoToMeeting, the Court recommends that
you download the free GoToMeeting application. To connect, you should enter the meeting
code “JudgeIsgur” in the GoToMeeting app or click the link on Judge Isgur’s home page
on the Southern District of Texas website. Once connected, click the settings icon in the
upper right corner and enter your name under the personal information setting.
         Case 20-33214 Document 23 Filed in TXSB on 12/17/20 Page 2 of 7




EXPEDITED RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EXPEDITED BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
THAT THE EXPEDITED CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE:

        COMES NOW, EVA S. ENGELHART, CHAPTER 7 TRUSTEE (the “Trustee”), and

files this Trustee’s Expedited Motion for Order Directing the Debtor to Appear and Show Cause

Why He Should Not be Held in Civil Contempt for Failure to Comply with the Court’s

11/9/2020 Order (Doc. No. 13), and would show the court as follows:

                                                  I.

                                   Jurisdiction and Expedited Nature

        1. This Court has jurisdiction over civil contempt proceedings under 28 U.S.C. § 157,

11 U.S.C. § 105, and Fed. R. Bankr. P. 9020. Placid Ref. Co. v. Terrebonne Fuel & Lube (In re

Terrebonne Fuel & Lube), 108 F.3d 609, 612 (5th Cir. 1997). A civil contempt proceeding is a

core proceeding under 28 U.S.C. § 157(b)(2). In re Nutter, 2010 Bankr. LEXIS 177, at *8

(Bankr. S.D. Tex. Jan. 15, 2010). A civil contempt proceeding is a core matter if it arises out of

the violation of an order issued in a core proceeding. In re Skinner, 917 F.2d 444, 448 (10th Cir.

1990). If this Court does not find it has jurisdiction over this matter, the Trustee consents to entry

of a final order on this matter.

        2. The Trustee seeks an expedited hearing on this matter. The Debtor has failed to

appear for his meeting of creditors, file any schedules and statements, and failed to provide

documents to the Trustee. The meeting of creditors has been reset to Friday December 18, 2020

                                                  2
        Case 20-33214 Document 23 Filed in TXSB on 12/17/20 Page 3 of 7




at 1:00 p.m. The Debtor has still not retained counsel or complied with the Court’s order,

leaving the Trustee and the creditors without information to move forward.


                                               II.

                             Factual and Procedural Background

       3. Francois Stanislas Bellon (the “Debtor”) filed a Chapter 11 bankruptcy, Case No. 17-

31923, in the United States Bankruptcy Court for the Southern District of Texas, Houston

Division. That case was jointly administered the Chapter 11 bankruptcy of The Entergy Group,

LLC, Case No. 17-34848. The Debtor’s plan of reorganization, and the plan of Entergy Group,

were confirmed, and both cases were closed.

       4. On May 23, 2019, William Vincent Walker was awarded a judgment against the

Debtor. The judgment remains unpaid.

       5. On June 26, 2020, Walker filed an involuntary petition for bankruptcy relief under

Chapter 7 of the Bankruptcy Code against the Debtor. On July 10, 2020, service of the summons

of that involuntary petition was executed. On September 11, 2020, this Court entered the order

for relief. The docket entry stated that the Debtor was required to file a list of creditors on or

before September 18, 2020 and his Statement of Current Income Form 22A-1 on or before

September 25, 2020. Under the provisions of 11 U.S.C. § 521(a)(1), the Debtor was required to

timely file a schedule of assets and liabilities, a schedule of current income and current

expenditures, a statement of the debtor’s financial affairs, copies of all pay advices received

within 60 days before the petition date, a statement of monthly net income, and a statement

disclosing any reasonably anticipated increase in income or expenditures over the 12-month

period following the petition date. Further, under 11 U.S.C. § 521(e)(2)(A), the Debtor is


                                                3
        Case 20-33214 Document 23 Filed in TXSB on 12/17/20 Page 4 of 7




required to provide to the Trustee his most recent tax return at least 7 days prior to the first

meeting of creditors.

       6. On October 8, 2020, Eva S. Engelhart was appointed to serve as the Chapter 7

Trustee of the Debtor’s Chapter 7 estate.

       7. The Debtor failed to file schedules and statements of financial affairs in this case

within the deadline required. On November 5, 2020, the Trustee filed The Trustee’s Emergency

Motion to Compel Compliance with 11 U.S.C. § 521. (Doc. No. 9). On November 5, 2020, the

Court entered an order directing the Trustee to amend her motion to provide the Debtor with time

to receive notice of the motion. (Doc. No. 10). On November 6, 2020, the Trustee filed The

Trustee’s Amended Motion to Compel Compliance with 11 U.S.C. § 521. (Doc. No. 11). (the

“Motion to Compel”). On November 9, 2020, this Court granted that motion. (Doc. No. 13).

The Court ordered the Debtor to file the following with the Court by November 30, 2020: (a)

Schedule of assets and liabilities; (b) Schedule of current income and expenditures; (c)

Statement of the Debtor's Financial Affairs; (d) Copies of all payment advices or other evidence

of payment received within 60 days before the date of the filing of the petition; (e) Statement of

the amount of monthly net income, itemized to show how the amount is calculated; and (f)

Statement disclosing any reasonably anticipated increase in income and expenditures over the

12-month period following the date of the filing of the petition. The Court also ordered the

Debtor to appear and testify at the Meeting of Creditors scheduled for December 10, 2020 at

1:00 pm by calling 866-815-5352, passcode 8068140. Finally, the Court ordered the Debtor to

provide the Trustee with: (a) a copy of his personal Federal Income Tax Returns for 2017, 2018,

and 2019, on or before November 30, 2020, (b) a copy of his social security card, driver's

license, or other acceptable identification, on or before November 30, 2020; (c) a copy of all


                                                4
        Case 20-33214 Document 23 Filed in TXSB on 12/17/20 Page 5 of 7




bank statements for all accounts that Mr. Bellon has signatory authority, from January 1, 2020

through September 11, 2020.

       8. The Trustee has had multiple communications with the Debtor since the Court

entered its order compelling his compliance. The Debtor fully understood the order and what he

needed to do to comply with it. The Debtor continued to say that he was attempting to obtain

counsel to assist him, but the Debtor has not done so. The Debtor has failed and refused to do

any of these things this Court ordered him to do and he is in contempt of this Court’s order.

                                                III.

                            Reasons Why the Relief Should be Granted

       9.    The Trustee requests that the Court enter an order directing the Debtor to appear

and show cause why he should not be held in civil contempt of this Court for failing to comply

wit the Court’s order. A show cause order provides the Debtor with due process and allows him

to adequately prepare himself to respond before suffering a possible contempt order.

       10.   In a civil contempt proceeding, should the Court issue the show cause order, the

moving party need only show: (i) that a court order was in effect; (ii) the order required certain

conduct by the respondent; and (iii) the respondent failed to comply with the court’s order.

F.D.I.C. v. LeGrand, 43 F.3d 163, 170 (5th Cir. 1995). The Court has broad discretion in the

fashioning of a remedy for civil contempt. American Airlines, Inc. v. Allied Pilots Ass’n, 228

F.3d 574 (5th Cir. 2000).

       11.   The Debtor is in direct contempt of court for his failure to file the required

pleadings, for his failure to provide the Trustee with the documents and information he was

ordered to provide, and for his failure to appear at the meeting of creditors. The Trustee asks that

after notice and a show cause hearing, the Court order the U.S. Marshal Service to issue a

                                                 5
         Case 20-33214 Document 23 Filed in TXSB on 12/17/20 Page 6 of 7




warrant for the Debtor’s arrest and have him held until he purges himself of the contempt of

court. The Debtor would at all times under such an order hold the keys to his jail cell in his own

hands. At any time that he decides to comply, he will gain his freedom. See Norris v. Johnson,

1997 U.S. App. LEXIS 41449, at *30-31 (5th Cir. Apr. 11, 1997) (permitting confinement as

appropriate in the context of bankruptcy); Terrebone, 108 F.3d 609 (holding that bankruptcy

courts have power to conduct civil contempt proceedings and to issue orders in accordance with

the outcome of those proceedings). The Trustee further seeks as a sanction for the contempt an

order directing the Debtor to reimburse the Trustee for her attorney’s fees and expenses incurred

in drafting and prosecuting this motion and attending and participating in any contempt

proceedings.

        WHEREFORE, PREMISES CONSIDERED, the Trustee requests that the Court find the

debtor Francois Stanislas Bellon in civil contempt and sanction him by ordering the United

States Marshals Service take him into custody as a coercive sanction until such time as he may

be brought before the Court and given the opportunity to purge himself of contempt, and for such

other and further relief as is just.

                                             Respectfully submitted,

                                             WAUSON | PROBUS

                                             By:___/s/ Matthew B. Probus ____
                                                    Matthew B. Probus
                                                    State Bar No. 16341200
                                                    Federal ID 10915
                                                    MBProbus@w-plaw.com

                                             One Sugar Creek Center Blvd., Suite 880
                                             Sugar Land, Texas 77478
                                             (281) 242-0303 (Telephone)
                                             (281) 242-0306 (Facsimile)


                                                6
        Case 20-33214 Document 23 Filed in TXSB on 12/17/20 Page 7 of 7




                                            ATTORNEYS FOR EVA S. ENGELHART,
                                            CHAPTER 7 TRUSTEE


                                     Certificate of Service

        I hereby certify that a true and correct copy of the foregoing instrument has been served
upon the parties on this 17th day of December, 2020, via the Court’s ECF/PACER system. In
addition, the Debtor has been served by United States regular mail, first class, postage prepaid,
and United States certified mail, return receipt requested, at 1540 Sul Ross, Houston, Texas
77006 and at 75 Sullivan Street, New York, New York 10012, and via email at
stashellon@gmail.com.


                                            /s/ Matthew B. Probus
                                            Matthew B. Probus




                                               7
